                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      BECKLEY DIVISION

DONALD L. BLANKENSHIP,                                 )
                                                       )
               Movant,                                 )
                                                       )
v.                                                     )       Civil Action No. 5:18-00591
                                                       )       (Criminal Action No. 5:14-00244)
UNITED STATES OF AMERICA,                              )
                                                       )
               Respondent.                             )

                                             ORDER

       Pending before the Court is Movant’s “Motion for Extension of Time to Submit a

Memorandum in Support of Motion to Vacate Pursuant to 28 U.S.C. § 2255” (Document No. 664),

filed by counsel, Howard C. Vick, Benjamin L. Hatch, and W. Henry Jernigan, Jr., on April 18,

2018. In support of his Motion, Movant explains that he “understands that the Department of

Justice’s Office of Professional Responsibility (“OPR”) is conducting an investigation into the

conduct of the prosecutors in [Movant’s] case” and “the findings of the OPR report are likely to

add material information to the subject matter of the Section 2255 Motion.” (Id.) Movant states

that he expects that the OPR will issue its reports in the near future and “the interest of justice will

be best served if [Movant] has the opportunity to address that information in his briefing.” (Id.)

Movant further contends that he has “learned of relevant new material as recently as April 6, 2018,

and it is likely that more may come to light in the coming weeks.” (Id.) Accordingly, Movant

requests an extension of time to file his Memorandum in Support “until an appropriate date after

the OPR report has been issued.” (Id.) For good cause shown, it is hereby ORDERED that

Movant’s Motion (Document No. 664) is GRANTED. Movant shall file his Memorandum in

Support of his Section 2255 Motion on or before June 4, 2018.
       Pursuant to the provisions of Rules 1(a) and 5 of the Rules Governing Section 2255

Proceedings for the United States District Courts, it is hereby ORDERED that the United States

shall file an Answer to the allegations contained in the Movant’s Section 2255 Motion no later

than 45 days after the filing of Movant’s Memorandum in Support. The United States’ Answer

shall be in conformity with Rule 5 of the Rules Governing Section 2255 Proceedings for the United

States District Courts. The Movant may, if he wishes, file a Reply or Objections to the United

States’ Answer within 14 days after the filing of the Answer.

       The Clerk is requested to transmit a copy of this Order to counsel of record.

       ENTER: April 23, 2018.




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